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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                  September 17, 2018
                          UNITED STATES DISTRICT COURT
                                                                                   David J. Bradley, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

MARC VEASEY, et al,                            §
                                               §
         Plaintiffs,                           §
VS.                                            § CIVIL ACTION NO. 2:13-CV-193
                                               §
GREG ABBOTT, et al,                            §
                                               §
         Defendants.                           §

                                    FINAL JUDGMENT

        For the reasons set forth by the Fifth Circuit in its opinion of April 27, 2018, the

Court enters final judgment dismissing this case.

        ORDERED this 17th day of September, 2018.

                                               ___________________________________
                                               NELVA GONZALES RAMOS
                                               UNITED STATES DISTRICT JUDGE




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